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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                         Criminal Action No. 22-408 (CKK)
 EDWARD KELLEY,
              Defendant.


                            MEMORANDUM OPINION & ORDER
                                  (January 22, 2025)

                                                 I.

       A grand jury charged Defendant Edward Kelley by superseding indictment with multiple

felony and misdemeanor counts for his alleged conduct during the riot at the United States Capitol

on January 6, 2021. See Superseding Indictment, ECF No. 52. After a two-day bench trial at

which the Court heard testimony from seven witnesses, admitted 102 exhibits into evidence, and

considered a detailed stipulation of undisputed facts to which the parties had agreed, the Court

found Kelley guilty, beyond a reasonable doubt, of the following offenses:

       •     Obstructing Officers During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3);

       •     Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.
             § 111(a)(1);

       •     Destruction of Government Property Causing Damage in an Amount Exceeding
             $1,000, in violation of 18 U.S.C. § 1361;

       •     Destruction of Government Property Causing Damage in an Amount Less Than $1,000,
             in violation of 18 U.S.C. § 1361;

       •     Entering and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C.
             § 1752(a)(1);

       •     Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of
             18 U.S.C. § 1752(a)(2);




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       •   Engaging in Physical Violence in a Restricted Building or Grounds, in violation of 18
           U.S.C. § 1752(a)(4).

       •   Entering and Remaining in the Gallery of a House of Congress, in violation of 40
           U.S.C. § 5104(e)(2)(B);

       •   Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D);

       •   Act of Physical Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C.
           § 5104(e)(2)(F); and

       •   Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.
           § 5104(e)(2)(G).

See Findings of Fact and Conclusions of Law, ECF No. 84, at 1–2, 39–40. Applying the Supreme

Court’s decision in Fischer v. United States, 603 U.S. 480 (2024), the Court found Kelley not

guilty of one other felony count with which the grand jury had charged him: Obstruction of an

Official Proceeding and Aiding and Abetting the Same, in violation of 18 U.S.C. §§ 1512(c) and

2. See Findings of Fact and Conclusions of Law at 22–27.

       As the Court described in its Findings of Fact and Conclusions of Law, ECF No. 84, Kelley

acted violently and destructively on January 6, 2021, including by assaulting a U.S. Capitol Police

officer who was attempting to stop rioters from breaching the Capitol Building:

       Once under the scaffolding [around the West Front of the Capitol Building], Kelley
       encountered [U.S. Capitol Police] Officer Albert Chow, who was defending an
       entrance to the area and had become isolated from other officers and outflanked by
       rioters after other [U.S. Capitol Police] officers retreated to another position. At
       the time, Officer Chow was actively working to repel rioters from unlawfully
       entering the Capitol Building. He was also wearing a black jacket that read “U.S.
       Capitol Police” in clear, block letters across the back. While Officer Chow was
       attempting to perform these duties in the face of an overwhelming number of
       rioters, Kelley approached Officer Chow from behind and, with the help of two
       other rioters, tackled the officer to the ground. Officer Chow struck his head on the
       steps of the Capitol as he fell. Based on Officer Chow’s actions and visible apparel
       at the moment that Kelley helped tackle him, the Court finds that Kelley knew that
       Officer Chow was a federal law enforcement officer engaged in the performance of
       his official duties in response to the riot at the Capitol and that Kelley tackled the
       officer with the purpose of obstructing him in the performance of those duties.

Id. at 15–16 (citations omitted). This assault is captured on video. See id. (citing Government’s

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Exhibit 303, which played in open court during trial). Later, Kelley helped other rioters push

through two other police lines. Id. at 16–17. And once he reached the perimeter of the Capitol

Building, Kelley attempted to force entry and ultimately entered through a broken window:

       Once Kelley arrived at the Senate Wing Door, he picked up a long plank of wood
       that another rioter had thrown partway through a window adjacent to the door,
       partly shattering the window. Using that piece of wood, [Kelley] forcibly shattered
       another part of the window, widening the opening into the Capitol Building. He
       then kicked the Senate Wing Door twice from the outside, attempting to force it
       open. Moments later, two other rioters used a shield stolen from police officers and
       the piece of wood to shatter what remained of the adjacent window that Kelley had
       damaged. Kelley then climbed through the broken window into the Capitol
       Building at approximately 2:13 p.m.

Id. at 17 (citations omitted). These actions, too, are captured on video. See id.

       Kelley was the fourth rioter, among hundreds, who entered the Capitol Building on January

6, 2021. See id. Once inside, Kelley immediately began attempting to help others force entry:

       [Kelley] pushed hard on the Senate Wing Door, attempting to force it open from
       the inside despite the fact that it was locked. Then, after watching another rioter
       try and fail to kick the door open, Kelley returned and kicked the locked door open
       with great force, seriously damaging the door in the process. After Kelley
       succeeded in kicking the door open, rioters immediately began streaming through
       the doorway into the Capitol Building.

Id. at 17 (citations omitted). Again, Kelley’s actions are captured on video. See id.

       Kelley then joined other rioters in parading through the halls of the Capitol Building, intent

on disrupting the certification of the votes of the Electoral College. Id. at 17–18. Kelley ultimately

made his way into the Senate Gallery, where he took two “selfie”-style photographs of himself.

Id. at 18–20. He then proceeded through several other rooms of the Capitol Building that were

closed to the public at the time, including the Rotunda, where he took another photograph. Id. at

20. Kelley exited the Capitol Building at approximately 2:55 p.m., having been inside the building

for about 42 minutes. Id. at 20.




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       After the events of January 6, 2021, a grand jury in the Eastern District of Tennessee

charged Kelley by indictment with, among other things, conspiracy to murder agents of the Federal

Bureau of Investigation who had participated in the investigation of his role in the January 6 riot.

See Indictment, United States v. Edward Kelley, 3:22-cr-118-TAV-JEM, ECF No. 17 (E.D. Tenn.

Dec. 21, 2022); see also Criminal Complaint, United States v. Edward Kelley, 3:22-cr-118-TAV-

JEM, ECF No. 3 (E.D. Tenn. Dec. 16, 2022). A jury in the Eastern District of Tennessee convicted

Kelley of these charges in November 2024. See Jury Verdict, United States v. Edward Kelley,

3:22-cr-118-TAV-JEM, ECF No. 85 (E.D. Tenn. Nov. 11, 2024).

       On April 7, 2025, Kelley is scheduled to be sentenced in this District for the three felony

and eight misdemeanor offenses related to his conduct on January 6, 2021, of which this Court

found him guilty beyond a reasonable doubt. See Min. Order (Nov. 8, 2024).

                                                II.

       On January 21, 2025, the Government moved to dismiss the superseding indictment

against Kelley “with prejudice” under Federal Rule of Criminal Procedure 48(a). Gov’t’s Mot.

to Dismiss, ECF No. 87. Kelley consents to the relief requested in this motion. See id. As

the “reason for this dismissal,” the Government cites an as-yet unnumbered presidential

Proclamation titled “Granting Pardons and Commutation of Sentences for Certain Offenses

Relating to the Events at or Near the United States Capitol on January 6, 2021.” Id. That

Proclamation, in relevant part, “direct[s] the Attorney General to pursue dismissal with prejudice

to the Government of all pending indictments against individuals for their conduct related to the

events at or near the United States Capitol on January              6,   2021.”       Unnumbered

Proclamation, _ _ Fed. Reg. _ _ _ _ (Jan. 20, 2025), https://perma.cc/W4NT-4K4S.




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       By its terms, Rule 48(a) allows the Government, “with leave of court,” to “dismiss

an indictment, information, or complaint.” Fed. R. Crim. P. 48(a). It does not explicitly grant

either the Government or the trial court the authority to vacate or set aside a plea of guilty, a jury

verdict, or a court’s findings of fact and conclusions of law following a bench trial. See id.; see

also United States v. Smith, 467 F.3d 785, 789 (D.C. Cir. 2006) (noting that “both the text of

[Rule 48] and its roots in the common law doctrine of nolle prosequi cast doubt on Rule 48’s

applicability post-conviction” without deciding whether Rule 48 “can properly be used to vacate

a final conviction”); Rice v. Rivera, 617 F.3d 802, 810 (4th Cir. 2010) (questioning whether Rule

48 allows dismissal following “conviction and unsuccessful direct appeal” without resolving

whether dismissal under Rule 48 was proper under those circumstances).

       However, the U.S. Court of Appeals for the D.C. Circuit has indicated in dicta that the

Government may seek dismissal of criminal charges under Rule 48(a) at least until a judgment

becomes final on direct appeal. See United States v. Knight, 981 F.3d 1095, 1109 (D.C. Cir. 2020)

(citing Rinaldi v. United States, 434 U.S. 22 (1977)); see also Smith, 467 F.3d at 788–89

(concluding that trial courts have jurisdiction to entertain Rule 48 motions “after sentencing and

appeal”); cf. Hirabayashi v. United States, 828 F.2d 591, 607 (9th Cir. 1987) (“There is no

precedent for applying Rule 48 to vacate a conviction after the trial and appellate proceedings have

ended.”). It follows that the Government may also seek dismissal under Rule 48(a) before the trial

court has sentenced the defendant. Consistent with that conclusion, courts in this District have

granted Rule 48(a) motions filed after trial but before sentencing. See, e.g., United States v.

Venkata, 709 F. Supp. 3d 9, 19 (D.D.C. 2024) (RDM); United States v. Purdy, No. 22-cr-19-1,

2025 WL 219111, at *2 (D.D.C. Jan. 14, 2025) (RCL).




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       Upon consideration of the relevant authority, this Court agrees that Rule 48(a) is a proper

vehicle for dismissal of a criminal case “with leave of the court” before sentencing. The Court

must therefore consider whether to grant its leave to dismiss this case. See United States v.

Ammidown, 497 F.2d 615, 620 (D.C. Cir. 1973) (noting that the “requirement of judicial leave” in

Rule 48 “gives the court a role in dismissals following indictment,” even when “the defendant

concurs in this dismissal”); United States v. Flynn, 507 F. Supp. 3d 116, 126–31 (D.D.C. 2020)

(EGS) (analyzing the scope of a trial court’s discretion under Rule 48(a)); see also Rinaldi, 434

U.S. at 30 n.15 (noting that Rule 48 “obviously vest[s] some discretion in the court” without

deciding whether that discretion extends to cases in which the defendant consents to dismissal).

To inform this analysis, the Court may “require a statement of reasons and underlying factual

basis” for the Government’s motion to dismiss. See Ammidown, 497 F.2d at 620.

       Here, the Government’s only stated reason for pursuing dismissal with prejudice is that the

President has ordered the Attorney General to do so. See Gov’t’s Mot. (citing Unnumbered

Proclamation, _ _ Fed. Reg. _ _ _ _ (Jan. 20, 2025), https://perma.cc/W4NT-4K4S). The Court

does not discern—and neither party has identified—any defect in either the legal merits of, or the

factual basis for, the Government’s case that would require dismissal. But recognizing that “the

Executive Branch has exclusive authority and absolute discretion to decide whether to prosecute a

case,” the Court shall not require a further explanation here. See United States v. Nixon, 418 U.S.

683, 693 (1974).

                                               III.

       Dismissals of charges, pardons after convictions, and commutations of sentences will not

change the truth of what happened on January 6, 2021. What occurred that day is preserved for

the future through thousands of contemporaneous videos, transcripts of trials, jury verdicts, and



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judicial opinions analyzing and recounting the evidence through a neutral lens. Those records are

immutable and represent the truth, no matter how the events of January 6 are described by those

charged or their allies.

        What role law enforcement played that day and the heroism of each officer who responded

also cannot be altered or ignored. Present that day were police officers from the U.S. Capitol

Police and those who came to their aid when called: the D.C. Metropolitan Police Department,

Montgomery County Police Department, Prince George’s County Police Department, Arlington

County Police Department, and Fairfax County Police Department. Grossly outnumbered, those

law enforcement officers acted valiantly to protect the Members of Congress, their staff, the Vice

President and his family, the integrity of the Capitol grounds, and the Capitol Building—our

symbol of liberty and a symbol of democracy around the world. For hours, those officers were

aggressively confronted and violently assaulted. More than 140 officers were injured. Others

tragically passed away as a result of the events of that day. But law enforcement did not falter.

Standing with bear spray streaming down their faces, those officers carried out their duty to protect.

        All of what I have described has been recorded for posterity, ensuring that what transpired

on January 6, 2021 can be judged accurately in the future.




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                                                 IV.

        For the foregoing reasons, it is hereby ORDERED th.at:

        •   The Government's [87] Motion to Dismiss is GRANTED;

        •   The [52) Superseding Indictment is DISMISSED WITH PREJUDICE pursuant to
            Federal Rule of Criminal Procedure 48(a);

        •   Defendant Edward Kelley is RELEASED from further detention in connection with
            this case, provided that such release shall not affect Kelley' s detention in connection
            with any other case;

        •   All scheduled proceedings and deadlines in this matter, including the Sentencing
            Hearing scheduled to take place on April 7, 2025, and the associated deadlines for
            Memoranda in Aid of Sentencing, are VACATED; and

       •    All pending motions are DENIED AS MOOT.

The Clerk of the Court is respectfully directed to close this case.



       SO ORDERED.

       Dated: January 22, 2025
                                                       COLLEEN KOLLAR-KOTELL
                                                       United States District Judge




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